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 (admission pro hac vice pending)

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 Attorneys for Defendant Peter Madoff

                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                                 :
  THE LAUTENBERG FOUNDATION,                     :   Civil Action No. 09-00816 (SRC)(MAS)
  JOSHUA S. LAUTENBERG and ELLEN                 :
  LAUTENBERG,                                    :
                                                 :           ORDER GRANTING
          Plaintiffs,                            :        PRO HAC VICE ADMISSION
                                                 :
  vs.                                            :
                                                 :
  PETER MADOFF,                                  :    DOCUMENT ELECTRONICALLY FILED
                                                 :
          Defendant.                             :
                                                 :
         THIS MATTER having been brought before the Court by William F. Maderer, Esq.,

 attorney for defendant Peter Madoff, for an Order allowing Charles T. Spada, Esq., to appear and

 participate pro hac vice; and the Court having considered the moving papers; and this matter

 being considered pursuant to FED.R.CIV.P. 78, and for good cause shown;

         IT IS on this ______ day of                     , 2009,




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         ORDERED that Charles T. Spada, Esq., a member of the bar of the States of New York

 and Connecticut, be permitted to appear pro hac vice in the above-captioned matter pursuant to

 L.Civ.R. 101.1(c); and it is further

         ORDERED that all pleadings, briefs, and other papers filed with the Court shall be

 signed by a member or associate of the law firm of Saiber LLC, attorneys of record for defendant

 Peter Madoff, who is admitted to the Bar of this Court, who shall be held responsible for said

 papers and for the conduct of the case, and who will be held responsible for the conduct of the

 attorney admitted hereby; and it is further

         ORDERED that Charles T. Spada, Esq., shall pay the annual fee to the New Jersey

 Lawyers’ Fund for Client Protection in accordance with New Jersey Court Rule 1:28-2 within

 twenty (20) days from the date of the entry of this Order; and it is further

         ORDERED that Charles T. Spada, Esq., shall make payment of $150.00 to the Clerk of

 the United States District Court in accordance with L.CIV.R. 101.1(c)(3), as amended, within

 twenty (20) days from the date of the entry of this Order; and it is further

         ORDERED that Charles T. Spada, Esq., shall be bound by the Rules of the United States

 District Court for the District of New Jersey, including, but not limited to, the provisions of

 L.CIV.R. 103.1, Judicial Ethics and Professional Responsibility, and L.CIV.R. 104.1, Discipline

 of Attorneys; and it is further

         ORDERED that Charles T. Spada, Esq., shall be deemed to have agreed to take no fee in

 any tort case in excess of the New Jersey State Court Contingency Fee Rule, Rule 1:21-7, as

 amended.




                                           HONORABLE MICHAEL A. SHIPP
                                           UNITED STATES MAGISTRATE JUDGE


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